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10    Attorneys for secured creditor
      HILLAIR CAPITAL MANAGEMENT, LLC
11
                            UNITED STATES BANKRUPTCY COURT
12
                              CENTRAL DISTRICT OF CALIFORNIA
13
                                     LOS ANGELES DIVISION
14
     In re                                   Lead Case No. 2:19-bk-14989-WB
15
     SCOOBEEZ, INC., et al.                  Chapter 11
16
                       Debtors and Debtors   (Jointly Administered with
17                     in Possession.        Case Nos. 2:19-bk-14991; 2:19-bk-14997)
18
     Affects:                                HILLAIR CAPITAL MANAGEMENT, LLC’S
19                                           OPPOSITION TO THE MOTION FOR
             All Debtors                     ALLOWANCE AND PAYMENT OF
20                                           ADMINISTRATIVE EXPENSE CLAIM OF
             SCOOBEEZ, INC., only            SHOUSHANA OHANESSIAN
21
             SCOOBEEZ GLOBAL, INC.
22           only                            Hearing:
                                             Date:         January 23, 2020
23           SCOOBUR, LLC only               Time:         10:00 a.m.
                                             Place:        U.S. Bankruptcy Court
24                                                         Courtroom 1375
                                                           255 East Temple Street
25                                                         Los Angeles, CA 90012
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 1   TO THE HONORABLE JULIA BRAND, UNITED STATES BANKRUPTCY JUDGE,
 2   THE DEBTORS, THEIR COUNSEL AND ALL PARTIES IN INTEREST:
 3           PLEASE TAKE NOTICE THAT Hillair Capital Management LLC and its affiliates
 4   (collectively, “Hillair”), senior secured creditor of Scoobeez, Inc., a California corporation, debtor
 5   in the above-captioned chapter 11 bankruptcy case (“Scoobeez”), and its affiliated debtors,
 6   Scoobeez Global, Inc., an Idaho corporation (formerly known as ABT Holdings, Inc.) (“Scoobeez
 7   Global”) and Scoobur, LLC, a California limited liability company (“Scoobur”) (collectively, the
 8   “Debtors”), respectfully submits this opposition to the Motion for Allowance and Payment of
 9   Administrative Expense Claim [Docket No. 517] (the “Motion”) filed by claimant Shoushana
10   Ohanessian as follows:
11           1.      In her Motion, Mrs. Ohanessian seeks reimbursement of $52,349.67 for various
12   expenses that she advanced on behalf of the Debtors. These expenses are detailed on Exhibit A to
13   Mrs. Ohanessian’s declaration in support of the Motion and include $38,331.27 for charges
14   incurred on July 19, 2019 at the Trump International Hotel in Chicago, Illinois. Mrs. Ohanessian
15   also seeks payment of $24,074.98 in toll road charges linked to her driver’s license, but incurred
16   by the Debtors’ drivers.
17           2.      Hillair understands that the Debtors will be disputing that certain of these charges
18   are not actual and necessary expenses of preserving the Debtors’ estates under section 503(b)(1).
19   Hillair joins in that objection.
20           3.      Hillair further objects to, and does not consent to, the payment of any allowed

21   administrative expense claims that are not provided for under any of the applicable cash collateral

22   budgets. See Docket Nos. 172, 328 and 490. For example, as it relates to travel, the initial cash

23   collateral budget included a “Travel” budget amount of $30,000 for the period through August 8,

24   2019, when Mrs. Ohanessian was terminated. That budgeted amount was for the travel expenses

25   for all of the Debtors’ employees. Seemingly, Mrs. Ohanessian’s $38,000 stay at the Trump

26   International Hotel in Chicago exceeds the travel budget for that relevant period.

27           4.      Hillair further objects to the payment of any allowed administrative expense claim

28   given the substantial risk that these cases are administratively insolvent. See, e.g., In re HQ
                                                     1
         HILLAIR CAPITAL MANAGEMENT, LLC’S OPPOSITION TO THE MOTION FOR ALLOWANCE AND PAYMENT OF
                           ADMINISTRATIVE EXPENSE CLAIM OF SHOUSHANA OHANESSIAN
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 1   Global Holdings, Inc., 282 B.R. 169, 173 (Bankr. D. Del. 2002) (“[D]istributions prior to
 2   confirmation of a plan are usually disallowed when the estate may not be able to pay all
 3   administrative claims in full.”) (internal citations omitted); see also United States v. Schottenstein,
 4   Zox & Dunn (In re Unitcast, Inc.), 219 B.R. 741, 752 (B.A.P. 6th Cir. 1998) (“That a bankruptcy
 5   judge has authority to order disgorgement of interim compensation when an estate turns out to be
 6   administratively insolvent is not here disputed.”).
 7          5.      Since the Debtors’ estates may very well be administratively insolvent, allowing
 8   Mrs. Ohaneissan to obtain payments under her Motion unnecessarily places the other
 9   administrative claimants at risk of not being paid and having to seek disgorgement in the future.
10   Thus, Hillair requests that any payments of under the Motion in excess of any payments covered
11   by the applicable cash collateral budget be held in abeyance until there is certainty regarding the
12   Debtors’ ability to pay all administrative claims, including Hillair’s super-priority administrative
13   claim. See, e.g., Docket No. 132, p. 16, ln. 15-26.
14          6.      For these reasons, Hillair objects to the Motion and to the immediate payment of
15   Mrs. Ohanessian’s administrative expense claims.
16   DATED: January 9, 2020                                 BUCHALTER, a Professional Corporation
17
                                                            By     /s/ Anthony J. Napolitano
18                                                                 STEVEN M. SPECTOR
                                                                   ANTHONY J. NAPOLITANO
19
                                                            Attorneys for secured creditor
20                                                          HILLAIR CAPITAL MANAGEMENT, LLC
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                                                       2
         HILLAIR CAPITAL MANAGEMENT, LLC’S OPPOSITION TO THE MOTION FOR ALLOWANCE AND PAYMENT OF
                           ADMINISTRATIVE EXPENSE CLAIM OF SHOUSHANA OHANESSIAN
     BN 39118406V1
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
BUCHALTER, 1000 Wilshire Blvd, Suite 1500, Los Angeles, CA 90017
A true and correct copy of the foregoing document entitled (specify) HILLAIR CAPITAL MANAGEMENT, LLC’S
OPPOSITION TO THE MOTION FOR ALLOWANCE AND PAYMENT OF ADMINISTRATIVE EXPENSE CLAIM OF
SHOUSHANA OHANESSIAN will be served or was served (a) on the judge in chambers in the form and manner required
by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
January 9, 2020      , I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:
    • Richard T Baum rickbaum@hotmail.com, rickbaum@ecf.inforuptcy.com
    • Bradley E Brook bbrook@bbrooklaw.com, paulo@bbrooklaw.com;brookecfmail@gmail.com
    • Richard W Esterkin richard.esterkin@morganlewis.com
    • John-Patrick M Fritz jpf@lnbyb.com, JPF.LNBYB@ecf.inforuptcy.com
    • Riebert Sterling Henderson shenderson@gibbsgiden.com
    • Vivian Ho BKClaimConfirmation@ftb.ca.gov
    • Dare Law dare.law@usdoj.gov
    • Bret D Lewis Bretlewis@aol.com, bdlawyager@gmail.com
    • Ashley M McDow amcdow@foley.com, sgaeta@foley.com;mhebbeln@foley.com;swilson@foley.com;jsimon@foley.com
    • Stacey A Miller smiller@tharpe-howell.com
    • Kevin H Morse kmorse@clarkhill.com, blambert@clarkhill.com
    • Shane J Moses smoses@foley.com
    • Akop J Nalbandyan jnalbandyan@LNtriallawyers.com, cbautista@LNtriallawyers.com
    • Rejoy Nalkara rejoy.nalkara@americaninfosource.com
    • Anthony J Napolitano anapolitano@buchalter.com, IFS_filing@buchalter.com;salarcon@buchalter.com
    • Jennifer L Nassiri jennifernassiri@quinnemanuel.com
    • David L. Neale dln@lnbyb.com
    • Sean A OKeefe sokeefe@okeefelc.com, seanaokeefe@msn.com
    • Aram Ordubegian ordubegian.aram@arentfox.com
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    •    Steven M Spector sspector@buchalter.com, IFS_efiling@buchalter.com;salarcon@buchalter.com
    •    United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
    •    Kimberly Walsh bk-kwalsh@texasattorneygeneral.gov
    •    Eric D Winston ericwinston@quinnemanuel.com
    •    Eric K Yaeckel yaeckel@sullivanlawgroupapc.com

                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) January 9, 2020 , I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.


Debtor
Scoobeez
3463 Foothill Blvd.
Glendale, CA 91214

                                                                                            Service information continued on attached page


            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
         Case 2:19-bk-14989-WB                     Doc 535 Filed 01/09/20 Entered 01/09/20 17:11:49                                      Desc
                                                    Main Document    Page 5 of 5
3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) January 9, 2020, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.
VIA OVERNIGHT MAIL
Hon. Julia W. Brand
U.S. Bankruptcy Court – Central District of California
Edward R. Roybal Federal Building and Courthouse
255 E. Temple Street, Suite 1382
Los Angeles, CA 90012



                                                                                            Service information continued on attached page
I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


January 9, 2020                 Sandra Alarcon                                                 /s/ Sandra Alarcon
 Date                           Printed Name                                                    Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
